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13-204
CLERK, U.S. DISTRICT COURT
: MIDDLE DISTRICT OF FLORIDA
UNITED STATES DISTRICT COURT JACKSONVILLE, FLORIDA
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
UNITED STATES OF AMERICA CRIMINAL COMPLAINT

vs. | Case No. 3:19-mj- |} 7 3-J RK

ROMEO XAVIER LANGHORNE

I, the undersigned complainant, being duly sworn, state the following is true and
correct to the best of my knowledge and belief. From at least February 14, 2019,
continuing through at least November 11, 2019, in the Middle District of Florida, and
elsewhere, the defendant,

knowing that the Islamic State of Iraq and al-Sham (“ISIS”) is a designated foreign
terrorist organization, has attempted to provide material support to ISIS through the
creation and distribution of an instructional video intended to teach followers of ISIS
how to obtain materials for explosives without arousing suspicion and combine those
materials to make an explosive sufficient to destroy specific types of targets,

in violation of Title 18, United States Code, Section 2339B. I further state that lama
Border Patrol Agent (Intelligence) and Task Force Officer assigned to the Federal Bureau of
Investigation Joint Terrorism Task Force, and that this Complaint is based on the following

facts: SEE ATTACHED AFFIDAVIT.
Continued on the attached sheet and made a part hereof: Yes CI No
TS al —
Signature of Complainant
Armando A. Martinez

 

Sworn to before me and subscribed in my presence,

on November 13, 2019 Jacksonville, Florida ~~~.

 

 

 

at - 7
JAMES R. KLINDT ( ‘ O Vv a
United States Magistrate Judge tL Cn, K ’ ~\ And
Signature of Judicial Officer _

 
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AFFIDAVIT

I, Armando A. Martinez, being first duly sworn, hereby depose and state as

follows: | |
IDENTITY OF AFFIANT

1, I am a Border Patrol Agent (Intelligence) with U. S. Border Patrol and
have been so employed since February 2003. Since May 2014, I have been assigned
to the Federal Bureau of Investigation (FBD, Northeast Florida Joint Terrorism Task
Force (ITTF). In the performance of my duties, I have investigated and assisted in
the investigation of matters involving violations of federal law related to
international terrorism and domestic terrorism, including violations of 18 U.S.C.
§ 2339B (providing and attempting to provide material support to foreign terrorist
organizations). | | |

2. | The facts in this affidavit come from my personal observations, my
training and experience, and information obtained from other agents and witnesses.
_ This affidavit is intended to show merely that there is sufficient probable cause for
‘the requested warrants and does not set forth all of my knowledge about this matter,

REQUESTED CRIMINAL COMPLAINT |

3. Based on the facts as set forth in this affidavit, I request that a criminal
_ complaint be issued for Romeo Xavier LANGHORNE for attempting to provide
material support to a designated foreign terrorist organization, in violation of 18

U.S.C. § 2339B.
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FEDERAL LAW
4, Lam familiar with federal law, Title 18, United States Code, Section
29938, which prohibits the knowing provision of material support or resources to a
designated foreign terrorist organization, or any attempt to do 80; |
| PROBABLE CAUSE
5, As further laid out below, LANGHORNE is an ISIS supporter, who
believes that existing videos available online are inadequate to arm fellow ISIS
adherents and others with knowledge on how to manufacture explosives. Asa .
result, LAN GHORNE has created and disseminated a video how to make triacetone -
triperoxide (“TATP”), a deadly explosive. Although the video includes disclaimers
about educational purposes, LAN GHORNE'S true purpose is to arm ISIS adherents
and others with knowledge of how to make TATP by disseminating a video that he
believes will not be taken down for terms of service violations. Since at least |
February 2019, LAN GHORNE has been directing an FEI undercover employee.
(UCE) in the production ofa video intended to provide instructions on how to
discreetly acquire materials, combine those materials to create an explosive, and
deploy the explosive for terroristic purposes in support of the Islamic State of Iraq.
| and al-Sham, referred to herein as “ISIS.” LANGHORNE was 4 resident in the: :
Middle District of Florida at the inception of these conversations and until April 9,

‘Gee NOTE, lackew, . ALM
2019, when LANGHORNE relocated to Virginia., As described herein, on |

é November 7, 2019, the UCE provided LANGHORNE with final versions of the
3®"on February 4, 2019, LANGHORNE was observed in St. Augustine, Florida at 35 Master’s Drive by FBI surveillance. On March 16,2019,
LANGHORNE was the subject of a St. Johns County Sheriff's Office Suspicious Person report at Panera Bread, located at 600 Tingle Ct, St.
Augustine, Florida 32086, The report noted LANGHORNE's address as 656 Francis St. Unit 36, St. Augustine, FL 32084, Reviews of the
Google Search Warrant returns reflect five Lyft rides taken by LANGHORNE within the Middle District of Florida during the month of
* March 2019. On April 9, 2019, agents in Roanoke, Virgiriia who ‘were conducting surveillance observed LANGHORNE leave the train .
‘station in Roanoke and go to his mother’s house. . m . (yA ‘
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video, and on November 11, 2019, LANGHORNE publicly posted the video to the
website BitChute,
I. Designation of ISIS as a Foreign Terrorist Organization

6, On October 15, 2004, the U.S. Secretary of State designated al Qaeda in
Traq (AQD, then known as J am’at al Tawhid wa’al-J ihad, as a Foreign Terrorist
Organization (FTO) under Section 219 of the Immigration and Nationality
Act (INA) and as a Specially Designated Global Terrorist under section 1(b) of
Executive Order 13224, On May 15, 2014, the Secretary of State amended the
designation of AQI as an FTO under Section 219 of the INA and as a Specially
Designated Global Terrorist entity under section 1(b) of Executive Order 13224 to
add the alias Islamic State of Iraq and the Levant (“ISIL”) as its primary name. The
Secretary also added the following aliases to the FTO listing: the Islamic State of Iraq
and al-Sham (i.e., “ISIS” which is how the FTO will be referenced herein), the
Islamic State of Iraq and Syria, ad-Dawla al-Islamiyya fi al-‘Iraq wa-sh-Sham,
Daesh, Dawla al Islamiya, and Al-Furqan Establishment for Media Production. In
an audio recording publicly released on J une 29, 2014, ISIS announced a formal |
change of its name to the Islamic State. On September 21, 2015, the Secretary added
the following aliases to the FTO listing: Islamic State, ISIL, and ISIS. To date, ISIS
remains a designated FTO. . |
0. LANGHORNE’s Allegiance to ISIS

7. LANGHORNE is a 30-year-old United States citizen and long-time

ISIS adherent. LANGHORNE first came to the attention of law enforcement in

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2014 when he posted on his Facebook account statements and images in support of
ISIS and images of LANGHORNE with his face covered in a red kaffiyeh..
| 8. LANGHORNE maintains a presence on a number of social media
platforms, including Twitter, Facebook, and YouTube. On May 24, 2019, search
warrants for LANGHORNE’s two Twitter accounts with handles @YoRHajJihadi
and @YoRHaJihadil7E were issued. See In the Matter of the Search of a Twitter profile
with User ID 1121834201156923393, Case No. 3:19-mj-1214-JRK; In the Matter of the
Search of a Twitter profile with User ID 958541544625 180672, Case No. 3: 19-mj-1215-
JRK (collectively, the “Twitter Search Warrants”), On June 26, 2019, Twitter
provided information responsive to the Twitter Search Warrants. On November 3,
2019, search warrants for LANGHORNE’s Facebook account with User ID
100016879148069, LANGHORNE’s Google account with the user name.
obakifox@gmail.com, and LANGHORNE’s Twitter account with handle
@YoRHal7E were issued, See In the Matter of the Search of a Facebook account with the

User ID 100016879148069, Case No. 3:19-mj-1409-JRK (the “Facebook Search

_. Warrant’); In the Matter of the Search of a Google Account with the user name

obakifox@gmail.com, Case No. 3:19-mj-1410-JRK (the “Google Search Warrant”);
and In the Matter of the Search of a Twitter profile with User ID 1175047546353442816,
Case No, 3:19-mj-1411-JRK, On November 5, 2019, Facebook provided
information responsive to the Facebook Search Warrant. On November 7, 2019,
Google provided information responsive to the Google Search Warrant. Twitter has

yet to respond to the November 3, 2019, search warrant.

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9, LAN GHORNE has used similar imagery referencing his support of
ISIS on multiple of his social media profiles. This imagery includes, most |
prominently, a cover image reading “SEEKING TO KILL AND TO BE KILLED,”
which LANGHORNE has used for his previous Twitter accounts @YoRHaJihadi
and @Yorhal7E and for one of his Facebook accounts.

10. LAN GHORNE’s Twitter account @YoRHaJihadi reflects that he
began to adapt versions of the “SEEKING TO KILL AND TO BE KILLED” logo

‘in June, July, and August 2018. The final version of the logo is seen below:

SEEKING TO KILL AND TO BE KILLED

 

The Arabic language saying inscribed in the circle has been translated by an FBI
Arabic linguist. It says, “Therefore, kill them.” In LANGHORNE’s Twitter
postings, the Islamic motto meaning “therefore kill them” is seen alternately trailing
fire or ice and smoke. In one image LAN GHORNE posted to Twitter, the logo was
superimposed next to a cartoonish image of two individuals at a computer looking

alarmed, The individuais in the cartoon are wearing shirts with the logos “NSA”

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and “FBI,” One image LANGHORN E posted to Twitter on August 4, 20 18, is the
“SEEKING TO KILL AND TO BE KILLED” motto on a black field. This image
features an emblem for Al-Hayat, meaning “life,” in the upper right hand corner. AI-
Hayat Media Center is the media wing of the Islamic State. This particular image
‘appears to be taken from the Al-Hayat produced video called Flames of War II at 24 |
minutes and 13 seconds, prior to a car bomb exploding next to foreign soldiers.
When he posted this image, LANGHORNE wrote, “Thoughts?” as if seeking
approval of his new logo. ~

11. Information produced by Twitter in response to thé Twitter Search
Warrants shows that LANGHORNE solicited the services of another Twitter user to
develop and refine the above-described images into the “SEEKING TO KILL AND |
TO BE KILLED” image that he later used on multiple social imedia accounts,
LANGHORNE explained to the other Twitter user “I need that logo (1st one) to be
placed into the headline (second one) and I'd like the words kill to be red, and be
killed to be light green, like a sort of cyan type of green but a bit brighter in hue”. As
requésted by LANGHORNE, the “SEEKING TO KILL AND TO BE KILLED”
language in the final image shifts from red text to yellow to green, and it is followed .
immediately by a green bird. I know from my training and experience that green
birds are viewed by militant jihadis as a symbol of martyrdom and attaining the
highest level of paradise. |

12, I know based on my investigation of LANGHORNE that he is a

prolific user of multiple social media platforms. These platforms include Twitter,

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Facebook, and Google/ YouTube. LANGHORNE has used Twitter, Facebook, and
YouTube to advertise his support of ISIS. Below are selected social media postings
made by LANGHORNE reflecting his ideological support for and allegiance to ISIS:
a, On July 28, 2018, LANGHORNE, using the YouTube account with
moniker “Takbir Jihadi” uploaded a video to Youtube entitled “The
Battle of Hearts and Minds.” Returns ftom the Google Search Warrant
show that the “Takbir Jihadi” YouTube moniker is associated with
LAN GHORNE’s Google account obakifox@gmail.com. I know
through my training and experience that “The Battle of Hearts and
Minds” is one of Anwar al-Awlaki’s extremist speeches. Al-Awlaki was
a senior recruiter and motivator for the foreign terrorist organization al-
Qaeda. Al-Awlaki was killed by the United States in a drone strike in
2011. “The Battle of Hearts and Minds” speech is further desctibed
below.
‘'b, On December 18, 2018, LANGHORNE, using the YouTube account
_ with moniker “Takbir J thadi” uploaded a video to Youtube entitled
“indeed your lord is ever watchful.” This video is a lengthy speech
released by ISIS in 2014 and contained the first official instructions by
the Islamic State for its supporters to kill non-Muslims in Western
countries. |
c. I know based on my training and experience and research that the
“Takbir” is the Arabic name for the expression of the words “Allahu

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Akbar,” which means “God is the greatest.” This phiase is often used
as an exaltation and motivational phrase. This phrase is also
-commonly used by Islamic terrorists as a battle cry just before engaging ~
- in terroristic acts. For example, in August 2019 in Sydney, Australia, a
man killed a woman and injured others as he stabbed them while
yelling “Allahu Akbar.” After September 11, 2001, the FBI released a
handwritten letter found in hijacker Mohamed Atta’s suitcase that
urged attackers to shout “Allahu Akbar” because the phrase strikes fear
in the hearts of the non-believers. My research shows that several other
Islamic militants have used the phrase in the process of carrying out
terrorist attacks, including the Fort Hood Shooter, the Times Square
bomber, and the Charlie Hebdo gunmen. J also know that a Jihadi is a
person involved in jihad, or an Islamic militant. Jihad is the “struggle,”
both in the internal sense — to be a better Muslim —and in the external
sense — as a defense of the faith, armed struggle, and holy war. Based
-on my training and experience and my familiarity with this
investigation, I assess that by using the display name of “Takbir Jihadi,”
LANGHORNE intends to convey his support of Islamic extremism. |
d. On December 18, 2018, LANGHORNE made the following post on his
Facebook page: “New uploads to my YouTube channel soon.
Inshallah”. I note that “Inshallah” is a phrase that translates to “if

Allah wills it.’ On or about December 18, 2018, Facebook user

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commented on LANGHORNE 's post, stating “Assalamu

alaikum wa rahmatullahi wa barakatuh akhi, What is the link to your
you tube channel?” LANGHORNE responded, *@
takbijihadi they took down one of the videos I uploaded that had
adnani 80... I'll have to find a way to work around it.” then
replied, “@Romeo X Langhorne bro they are taking down everything,
Same on TG. They B dying N Tur Rage.” I assess from my training
and experience that “Adnani” refers Abu Muhammad Al-Adnani, who
was the senior spokesman for ISIS. Al-Adnani was killed by a U.S.
airstrike in 2016. I assess that “TG” refers to the encrypted social
media application Telegram. I am aware based on my training and
experience that terrorist and extremist groups and sympathizers utilize
Telegram to recruit new members, fundraise, incite to violence, and
coordinate terrorist activity.

e. On April 14, 2019, LANGHORNE, using Twitter handle
@YoRHaJ ihadi, commented on a tweet advertising a talk related
“recent attacks,” Tassess “recent attacks” to refer to incidents that had
occurred on March 15, 2019, in which a man was attacked with a
hammer outside an East London mosque hours after forty-nine people
were killed in an attack on two mosques in New Zealand, and on
March 30, 2019, when a man was found fatally stabbed near a central

London mosque. At one point in the Twitter reply thread,

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LANGHORNE stated, “But what if I want an Auto mag 3, hand gun.”
A Twitter user responded; “Well why would you want that?”
LANGHORNE replied, “It shoots fireballs.” The other Twitter user
responded “fam that looks so edited LOOOOL.” After some further
back and forth, LANGHORNE commented, “Just think of how cool it
would look to fireball someone.” The other Twitter user then stated,
“considering u got jihadi in your name and your pinned tweet is ISIS
I’m gonna go out on a limb here and say you don’t particularly like
Muslims.” LANGHORNE responded, “That deduction is entirely the
opposite direction of where all the evidence you just mentioned goes.”
The other Twitter user responded, “in what way.” LANGHORNE
responded, “In.the most obvious way. Look at my header.” This
statement was posted over an image of the “TO KILL OR TO BE
KILLED” image, described above. I assess that, in this comment
thread, LANGHORNE publicly affirmed that he identified as a
follower of ISIS.

f, On April 17, 2019, just after the Cathedral of Notre Dame in Paris
suffered a widely-reported and devastating fire, LAN GHORNE
participated in-a conversation on Twitter about the fire. When the .
conversation turned to ISIS’s destruction of ancient ruins in Palmyra,
one user commented, “[ISIS] took defacing, desecrating and destroying

very seriously, Evil... not flippant. But you probably don’t care

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anything about actual ISIS, or , for that matter, and just want to
make points for for [sic] your cult.” LAN GHORNE responded to this
conversation thread using Twitter handle @YoRHaJihadi, stating, “I
wouldn’t say we were evil, just following theocratic doctrine.” In
response to LANGHORNE’s comment, Twitter user @

tweeted “Ixnay on the eeway. ; ”, and LANGHORNE, using Twitter
handle @YoRHaJihadi, replied “Nah.” I assess that when

@ stated “Ixney on the eeway,” he was warming

LAN GHORNE against using the pronoun “we” when referring to ISIS,
which has the effect of identifying LANGHORNE as a member of ISIS.

g. On October 3, 2019, LANGHORNE, using Twitter handle
@Yorhal7E, tagged Twitter handle @ | and asked 30, tell me
of Iraq. There are protests now for some reason?” @ posted
several replies, and LANGHORNE then commented, “Should have
stayed firm with dawlah.” I know based on my training and experience |
that “Dawiah al-Islamiyah" is another name for ISIS.

h. On October 3, 2019, LANGHORNE, using Twitter handle
@Yorha17E, tweeted the Al-Hayat Media Center logo in response to a
Tweet from handle @ , in which that user stated “I really want
the Iraqi gov to be replaced and all but.. _ by who? everyone is asking
for a revolution but have no 0 idea for who should tak...”. Al-Hayat

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Media Center is the media arm for the Islamic State and produced the
ISIS propaganda video Flames of War IL.
i, On October 12, 2019, LANGHORNE, using Twitter handle
@Yorhal7E, engaged in a discussion with Twitter handle @
(display name } regarding the status of ISIS, In one
of his responses to @ , LANGHORNE stated, “Well, none of
the people you mentioned, Defeated the Islamic state, as they still exist
&.-are still in iraq & syria & elsewhere. Extreme bombardment makes
life unsafe for civilians, white prosphorus was used with incredible
_ hubris & temerity; but ultimately they remain. Baqiyah.” The term
“bagiyah” used by LANGHORNE is an Arabic word for “everlasting”
or “enduring.” |
j. On October 12, 2019, LANGHORNE, using Twitter handle
@Yorhal7E, commented on a Tweet by Twitter handle
@ _ @isplay name -) in which
@ appeared to criticize President Donald Trump for
‘allowing Turkey to conduct an operation that purportedly resulted in a
nine year old girl being severely injured. LANGHORNE responded to
‘@ , stating “There are dozens of videos of children and .
women killed by US airstrikes in IS held territory between 2015-ish up °-
till earlier this year. Let's not play moral high ground.”
One

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k, On October 27, 2019, LANGHORNE, using Twitter handle
@Yorhal17E, commented on a Tweet by Twitter handle
@ - (display name ) in which
@ . had posted a Tweet commenting on an obituary of
Abu Bakr ai-Baghdadi that had been published by the Washington Post.
By way of background, I am aware that on the morning of October 27,
2019, President Trump had conducted a-press conference at which he
announced that al-Baghdadi had been killed as a result of a United
States operation in Syria on October 26, 2019. Prior to his death, al-
Baghdadi was the leader of ISIS. LANGHORNE commented about al-
Baghdadi “He’s a good man. If george Washington was alive today he
would undoubtedly be called a terrorist, only difference is he was
egalitarian in his approach vs being strongly Christian in so much as
calling for a theocracy as opposed to a republic.”
I. LANGHORNE’s Attempt to Provide Material Support to ISIS
13. Since February 14, 2019, an FBI UCE has been exchanging messages
on a secure messaging application with LANGHORNE, who uses the name “Faris
Bin Malhama,” which translated means “Knight of the Fierce Battle.” The UCE
and LANGHORNE have engaged in multiple communication sessions, with the
conversation continuing through November 7, 2019. Each time the UCE and
LANGHORNE communicate via the secure messaging application, the

communications are received by the FBI, reviewed, and documented. I have

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personally reviewed all of the communications in preparing this affidavit. The most
pertinent of these communications are described below, and the entirety of the
communications are attached as Exhibit Al
14, On October 10, 2018, an open source review of the secure messaging
application showed the Faris Bin Malhama account is associated with telephone
number 904- 75. On October 6, 2018, AT&T provided records to the FBI
showing LANGHORNE was the subscriber of Cricket Wireless cellular telephone
number 904- 75. .
15, LANGHORNE and the UCE first communicated on February 14,
2019. Langhorne stated, in substance and among other things, that he wanted the
UCE to make a video or series of videos. During the first communication session
between the UCE and LANGHORN E, the following conversation ‘ensued:
LANGHORNE (5:09 PM) - Firstly three main target demographics. Firstly,
sisters. Secondly those who are waiting and are unsure about attacks
(especially civilian) thirdly media correction or memes.

UCE (5:09 PM) — I like the way you think Akhee.

UCE (5:10 PM) — Sisters, are very crucial to our goals in the Ummah. They
. don’t even see our beloved sisters coming at the end of the day Akhee.

LANGHORNE (5:10 PM) - For sisters, I would recommend a series;
YouTube if possible, just about Islamic reminders and living in the west (and
why living in an Islamic society has unique advantages)

UCE (5:11 PM) - Inshallah

 

' Any redactions are indicated by a black box.

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UCE (5:12 PM) — We need strong brothers who are indeed willing to conduct
operations here and over there and brothers that know what they are doing!

LANGHORNE (5:14 PM) - Yes, the best utilization would be to have a web
series (again if possible on YouTube that would best) and it could be. a series
covering daily reminders, the difference in western and Islamic culture, how to
have modesty and how to be a good wife. Further more, there should be
influences on target practicing or encouraging brothers to accept the needs of _
the ummah, that being jihad. .THIS part specifically should be outlined over
time, and should focus on having empathy for the ummah and then hatred for
the kuffar, but in a subtle way by exposing their ideological absurdities.

LANGHORNE (5:15 PM) - Hmmm..
UCE (5:15 PM) - Mashallah Akhee, You are very knowledgeable!

LANGHORNE (5:15 PM) — Well, when it comes to brothers there are two
things with that, one. Proper videos are needed, can explain if asked. And
better videos on how and why jihad is needed. -

Later in conversation LANGHORNE messaged:
LANGHORNE (5:55 PM) -Your most optimal bet, is to introduce things

starting off with part of what anwar said in n the battle of hearts and minds .
video

LANGHORNE (5:55 PM) - Regarding the rand corporation and their plans
to westernize islam

LANGHORNE (5:57 PM) — And then to progress forward with some
information about how the CVE began, how it became a state dependent
partner and its endeavors especially the #Think again turn away campaign
they attempted and failed horribly.
Based on my training and experience I assess that “anwar” refers to Anwar al-
Awlaki, who was a senior recruiter and motivator for the foreign terrorist
organization al-Qaeda in the Arabian Peninsula. Al-Awlaki was killed by the United

States in a drone strike in 2011, but his influence has lived on through his numerous

extremist propaganda videos and statements. Al-Awlaki’s videos and writings

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remain highly popular with Islamic extremists and jihadists on the internet, where
they continue to be readily accessible. I also know through my training that the “the
battle of hearts and minds video” is a reference to oné of al-Awlaki’s extremist
speeches, The following are excerpts from Al-Awlaki’s Battle of Hearts and Minds
speech:

Dear brothers and sisters we are not only victims, of U.S.
military and political aggression, but we are also victims-of
U.S. lies! They have been lying about our brothers,
charging them with false accusations, until they put hatred
of them in our hearts, and they have planted the seeds of
disunity amongst us!...we are victims of this Western
media and U.S. lies. We need to be aware! We need to be
careful,

KKK

What I really fail to understand, is how can the martyr, the
Shaheed, who willingly and happily, hands over his soul
to Allah, who walks towards his faith, with pleasure, and
faces death with a smile, what I fail to understand is how .
can you call such a person a ‘coward’!

16. On February 17, 2019, LANGHORNE and the UCE continued their
communications. During the exchange of messages, LANGHORNE stated, in
substance, that he wanted the UCE to make an explosive video and provided specific
instructions to the UCE as to what information the video needed to contain, as

‘shown below: |

LANGHORNE (7:13, PM) ~ Two videos that could use production

LANGHORNE (7:13 PM) — Is first and foremost an explosive video

LANGHORNE (7:14 PM) — Now the creation of such a video and sending it
KNOWING It'll be used for crime in anyway, of course is illegal and would

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have the ATF at your doors faster than the FBI. Now then. On such a video
three things are needed.

LANGHORNE (7:15 PM) - One: the video must be said it’s for scientific
purposes only and not to be used in any crimes.

UCE (7:15 PM) - Inshallah

LANGHORNE (7:16 PM) — Second: such a video must show proper yield to
explosive equipment gained. Not just the amount of explosive you'll have
after its creation but how much that specific amount has in demolition power.
This should be done in yields the common man can understand, example, X
amount will destroy a car, x amount | story building, x amount 2 story if place
properly, and X amount for a 3 story building.

LANGHORNE (7:19 PM) — Third: such a video needs to show two things,
how to obtain the catalyst needed, one being sulfuric acid (easily obtained via
car batteries.) the other being hydrochloric acid. Easily purchased in a variety
of ways within the US and SOME European counties. My recommendation
is the utilization of a school, claim to be a science teacher there and pay for

_ Said equipment with an old burner Visa card

LANGHORNE (7:20 PM) - Again yields are needed for both types
17, The February 17, 2019, conversation continued. Beginning at 7:43 PM

the following messages were exchanged:

UCE (7:43 PM) - I’m all in with the fireworks video as first one to be
produced. Do you have thoughts on where to set the fireworks off? List in
order

LANGHORNE (7:43 PM) — A back yard is nice and safe

LANGHORNE (7:44 PM) — Or perhaps a heavily wooded area that is
_ unlikely to catch fire.’

LANGHORNE (7:45 PM) — If you can get clearance from local contractors
on an abandoned building, that would also be great.

UCE (7:46 PM) — How’s that helping the Ummah and the cause.

LANGHORNE (7:46 PM) — How does it not???
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Scientific knowledge is needed when someone is either under siege or clearing
tree roots. .

LANGHORNE (7:47 PM) - For example, the people in Yemen who are
starving might have use for such a video as they could, get rd of abandoned
buildings so that the Houthis cant use them in tribal warefare.

That way the need to-have peace talks or a cease fire drastically increases.

LANGHORNE (7:48 PM) - Or let’s say someone in, Kansas has a stubborn
tree trunk they just cant afford to dig up, assuming they have the property size
for it, and clear it with their neighbors they could easily just blow up the tree
trunk then recoil the area.

LANGHORNE (7:49 PM) ~ Resoil*

UCE (7:52 PM) - I’m not here to play these games about blowing up tree
trunks in someone’s back yard. I was told you wanted to make a very specific
video to help in the cause, are you right brother for us?

LANGHORNE (7:52 PM) - Let me ask you this ahki. Are you reading this
right now? Are you paying attention?

LANGHORNE (7: 53 PM) — Lets say, someone had, I donno these great
media ideas for, abu Saif or the PKK or the IRA or any foreign terrorist
organization

And this person truly wanted Good.

LANGHORNE (7:54 PM) - He wanted good for whatever cause, not as a
means to harm others but as a means to end a war or to end skirmishes by
intelligent attacks, planning etc.

Now let’s give this guy a name, we'll call him steve.

LANGHORNE (7:55 PM) — So Steve gets this great ideas. Not because no
one else thought of them. But because he’s outside of the conflict, he can see
things a bit differently than those in combat situations.

So Steve, in his earnest hope to save lives and make things better for the PKK
for example.

LANGHORNE (7:56 PM) — Request the PKK to create videos

Now, steve gets on telegram, and gets a contact through a contact through
another contact

Steve, thinking he’ll help change things for the better, with good intentions.

Ore

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Asks this PKK person to go ahead and create some specific types of videos for
him.

LANGHORNE (7:57 PM) — Now while he’s requesting and going over these
videos

LANGHORNE (7:58 PM) — The person in question, asks questions subtly, ya
know what area ya-from, when is a good time to talk? How is work? What do
you do for work.

Etc

And every now and then.

The person in question, let’s say bob

Asks him to clarify some of the things he speaks of.

LANGHORNE (7:59 PM) — Bob would say something like “oh hey, so you
want these explosive videos, to focus on blowing up buildings right? Well,
what kinda building around you, would you blow up, if ya could? Is it a two
story or a one story building?”

LANGHORNE (8:01 PM) — And of course steve says, “well it’s a two story”
and bob goes on to say “well, is ita government building or just a residential
or what?” So then steve says it’s a office of some kind, nothing important and
then bob meanwhile says “well I’m making the video but would you like to
buy some of the supplies in advance so you could make a small batch or
explosives on your own?” And then steve says sure.

LANGHORNE (8:02 PM) — Next thing ya know. Steve gets a knock at his
door 3 days later after bob confirmed that steve had the materials, and stéve
gets arrest on multiplé felon charges.

LANGHORNE (8:03 PM) — Turns out bob was an FBI field agent and
thought he could get steve at least 20 years in prison because steve might be.
dangerous. Now although steve had good intentions the point is he was
talking with a FTO, so that automatically gives steve a 20 year minimum
sentence for trying to provide aid to a foreign terrorist organization

On top of the charges-for having explosive materials on top of attempting to
provide some form of support

LANGHORNE (8:04 PM) — Now steve at this point is facing, probably 45 to

50 years in prison, maybe 35 if he takes a plea deal.
So let me end this story with this statement

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LANGHORNE (8: 05 PM) — I’m not steve. I’m not dumb enough to follow in
the hopefully footsteps of steve.

LANGHORNE (8:06 PM) - Now I’m gonna tell ya this ‘one last time’so we're
clear, you’re the one in need here not myself, Life continues as it does. Don’t
ask me any questions that you don’t need to. Nor question why in instruct
you a certain way. With utmost respect ahki, these questions your asking are
not only tedious and a waste of time but frankly annoying. I have no ego to be
played nor a need for money or fame.

LANGHORNE (8:07 PM) — So when I tell you to make whatever, and I
clarify what it’s for who it’s for and what the focal point are. That’s it.
Don’t ask for anything else.

Nor question anything I asked.

Ever

Because I’m not ‘going to end up like steve

In the above messages between LANGHORNE and the UCE, LANGHORNE

appears to be concerned that the UCE might be a federal agent. LAN GHORNE
told a story involving two characters, Bob and Steve. I assess this story to be an
allegory in which Steve LANGHORNE) wants to provide material support to a
terrorist organization but ends up being arrested by Bob (“FBI field agent”).

18. The February 17, 2019, conversation continued. Beginning at 8:08 PM
the following messages were exchanged: |

LANGHORNE (8:08 PM) - Now you get to work on what I said, as I said
and you finish it.

You do that, then we can talk more. Other than that, theres nothing more to
say here

I don’t like you questions

And I don’t like how you’re questioning the nature of what I asked

A man blowing up a tree trunk is the:same as a man blowing up a building,
the materials used are the same

LANGHORNE (8:09 PM) — And the process to acquire those materials are
also'the same

eee

OY

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Now wither or not that building has people in it, or that tree has termites in it,

doesn’t matter. In both scenarios the building and the tree stump are

destroyed

LANGHORNE (8:10 PM) — Now you go make my video

Or T’ll out you right here and now as a federal agent

And J don’t give’a single fuck what you have to say

You have your orders, Do it. And i don’t care who gave you tazkiyah

Or if Baghdadi himself vouches for you
I know from my training and experience that “Baghdadi” refers to Abu Bakr al-
Baghdadi, then the leader of ISIS. In 2014, ISIS announced the establishment of a
worldwide caliphate (concept of a single Islamic world government) and al-Baghdadi
was named its caliph (leader). Under al-Baghdadi’s leadership, ISIS’s ideology has
been to promote religious violence, and regards Muslims who do not agree with its
interpretations as infidels. ISIS is known for its extensive and effective use of
. propaganda. ISIS has extensively utilized social media, particularly Twitter, to
distribute its messages, As noted above, on October 27, 2019, President Trump
announced that al-Baghdadi had been killed in a United States operation.in Syria. I
also know through my training and experience that “abu Saif,” “PKK,” and. “IRA”
(all referenced by LANGHORNE in the above conversation) are all terrorist
organizations. Abu Saif, also known as Abu Sayyaf, is a terror organization that
seeks to establish an independent Islamic state in the southern Philippines. “PKK” is
a reference to the Kurdistan Workers Party and “TRA” is a reference to Irish
Republican Army, both designated terrorist organizations.

19, The conversation continued. Beginning at 8:15 PM on February 17,

2019, the following messages were exchanged: One
21. .
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LANGHORNE (8:15 PM) — Whatever your about to fucking say it doesn’t
matter to me. Either you make the video and you prove you aren’t a fed, or
you say whatever you're gonna say, and don’t make the video and prove you
are a fed,

UCE (8:21 PM) — Okay, now that you are done, let me tell something...you
think you know a lot and yet you have done nothing for the cause and sit you
on your computer all day long and come up crazy stories like the one above.
There is no need for you to flip out and talk as long as you have. I have not
asked you any specific questions on anything besides what I was told you
wanted to talk about.

And I agree we are done for now.

LANGHORNE (8:27 PM) — You don’t need to know if I can make explosives -
or not

Nor should you ask how a video on demolition is useful to the ummah, It has
obvious implications unless you’re an idiot.

20. On February 22, 2019, , Resident Agent in Charge (RAC) for
ATF in J acksonville Group I, advised FBI Jacksonville that on February 21, 2019,
LANGHORNE had called the ATF Jacksonville office. On February 22, 2019,
Special Agent returned LANGHORNE'’s call and spoke with him.
According to RAC , LANGHORNE had inquired about how to get an explosive
license, whether someone who was on the terrorist watchlist could obtain a license,
and what background checks are conducted to become an ATF agent. During the
call LANGHORNE identified himself as “Romeo” and provided his contact number
as 904- 75. On October 6, 2018, AT&T provided records to the FBI showing
_ LAN GHORNE was the subscriber of Cricket Wireless cellular telephone number
904- 75.

21. LANGHORNE and the UCE again communicated on April 3; 2019,

during which the UCE provided LANGHORNE with a one minute four second

22 ye :
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video that was produced based on the ideas provided by LANGHORNE. The video ..
begins with a disclaimer, per Langhorne’s instructions, which states in substance that

' the video is being made for scientific and educational purposes, The video then
introduces the topic, “TATP Triacetone Triperoxide” and the three topics the video
will cover. The three topics are: What You'll Need and Where and How to

Purchase, TATP Production Step by Step and Safety, and Volume and Yield.

Photos are provided within-each section but no instructional information. The video
ends with the statement “More To Come.”

22. Iknow based on my training and experience that TATP is an organic
peroxide and a primary high explosive. The components that make TATP are
readily available and often found in common household items such as hair bleach
(hydrogen peroxide) and nail polish remover (acetone). The hydrogen peroxide and
acetone can easily be purchased from beauty supply shops, pharmacies, hardware
stores, and pool supply stores. The availability of these components makes the
production of TATP cost effective and allows potential bomb-makers the ability to
purchase them undetected. TATP has been an attractive explosive for extremists.
TATP has been used in bomb and suicide attacks and in improvised explosive
devices, including the London bombings on July 7, 2005, where four suicide
bombers killed 52 people and injured more than 700. It was one of the explosives
used by the "shoe bomber" Richard. Reid in his 2001 failed shoe bomb attempt.

TATP also was used by the suicide bombers in the November 2015 Paris attacks, -

2016 Brussels bombings, Manchester Arena bombing, June 2017 Brussels attack,
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Parsons Green bombing, the Surabaya bombings, and the 2019 Sri Lanka Easter
bombings. | |

23. On April 3, 2019, after LANGHORNE received the video from the
UCE, the following conversation took place:

LANGHORNE (5:30 PM) - Perfect. t. This should be able to be uploaded to
YouTube legally as well.

LANGHORNE (5:31 PM) — Now this kinda quality is what’s needed.
Because it isn’t inherently used for crimes it should Pass off fine

LANGHORNE (6:07 PM) — This works well. For multiple reason firstly,
with the yield we know exactly what we'll need. And can price our efforts
accordingly, for material this is also good as we can find adequate supplies
based on need and surveillance. For those on a tight leash use car batteries,
for those free and suspected to be undetected, you can gather hydrochloric
acid.

Works fine

UCE (7:51 PM) — Glad you like it Akhee... this is just the beginning.

LANGHORNE (8:53 PM) — The best yield results in my opinion are, tree
trunk, car, 900 square foot room, Half a building. And one full building.

UCE (8:56 PM) — Okay

LANGHORNE (8:57 PM) - As for the hydrochloric acid. You don’t or
shouldn’t need a yield for those scales, if you have extra go for it, if not, please
just apply the math to scale the yield amount.

UCE (8:59 PM) — Got it.

24. In reviewing the returns from the Twitter Search Warrants, I observed
_that on April 4, 2019, LANGHORNE, using Twitter handle @YorHaJihadi, sent a

video to Twitter user , username @ , via Twitter direct

message. The video sent by LANGHORNE was the first video provided to oe

24.
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LANGHORNE by the FBI UCE, on April 3, 2019. LANGHORNE later stated,
according to the Twitter return, “From my understanding this video should be legal.
Could you give me your thoughts? Also look up federal codes if you need to. I'm
pretty sure it's in compliance”. Also on April 4, 2019, @ responded, ina
series of Twitter direct messages, “I can’t promise it won’t get banned by whatever
. platform it gets uploaded to. But I can’t think of any reason it would violate US law.
Taken in isolation, it should not be a legal risk. I am not a lawyer. Actually building
the devices is a whole different matter.” On the same date, LANGHORNE
responded, in a series of Twitter direct messages, “Good then... Just want the
information out. Anyone who does so on their own is at their own risk. Should
work fine... That’s what I-thought it isn’t inherently criminal in nature or inciting
violence or said to be used by criminals or terrorist. So it should be fine and not in
any violation of TOS. That being said I’m waiting for the finished product and we -
should be good.” On the same date, @ responded, in a series of Twitter
direct messages, “There is a big asterisk, The person doing the assembly of the
devices... without proper licensing... could be in jeopardy. Not my call. Again ’m
- not a lawyer, and especially not your lawyer.” LANGHORNE, via Twitter handle
@Yorhal17£, has been interacting with Twitter user @ | as recently as
October 27, 2019.
25. OnApril 4, 2019, LANGHORNE, using Twitter handle
@YorHaJihadi, also sent the same video to Twitter account | ,
arr |
25
 

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which is handle @ . LANGHORNE asked @ “Just wanted
to know if this video seems fegal.” @ did not respond to his question.

26. On April 12,2019, LANGHORNE made the following postings:

 

PR YoRHaUnit17-J @vorHalhach 10h YoRHa Unit 17.) G@¥oRtlasihadi 3d
@ when you get the Replying to @

: . Yeah... ion:
time, I would like to know, eah... question

eget wae Are their laws against unlawful
Is demolitioning an empty building

 

halal? demolition?
hala * yo
Ce Or Om
neh OL Rete
fa
Replying 10 @YoRKadihadi
Er... i'm gonna say yes.
Vi2tpm «11 Apr 2019. Twitter Web Chent
& YoRHa Unit 17-J @YcRtlalihadi — LOh 1 Reply 1 Like
Repiving to @

Yeah... question: " QO W Oo oe

_ Are their laws against unlawful oo.
demolition? Reply to & @YoRHalihadi

PT a
& YoRHa Unit 17-J @voRHalihacdi = 3d
Replying tc @ ,
I'll look into it.

OT © wo

 

 

 

In these postings, LANGHORNE asked Twitter user @ | , via Twitter
handle @YoRHaJihadi, “When you get the time, I would like to know, Is .
demolitioning [sie an empty building halal?” Based on my training and experience, I
know that “halal” means “acceptable” or “permissible.” The same day,

LAN GHORNE asked Twitter user @ , “Yeah... question: Are their [sic]
laws against unlawful demolition?” @ responded, “Er... I’m gonna say
yes,” and LANGHORNE replied, “I'll look into it.”

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Case 3:19-cr-00218-HES-JRK Document1 Filed 11/13/19 Page 28 of 51 PagelD 28 |

27, OnApril 14, 2019, LANGHORNE, using Twitter handle
@YorHaJihadi, sent a Twitter direct message to Twitter user ' which is
handle @ , stating, “T will need, strength and conditioning, basic
marksmanship, being able to fully disassemble and reassemble a few weapons, being
capable of jogging multiple miles, being able to run 2 miles, some basic parkour
information, some basic parkour training.’ Knowledge of atypical military tactics and
commands, and knowledge of how to breach and clear rooms.” LANGHORNE
later sent another message to the same Twitter account stating, “It ain’t alot your
askin to someone determined, issue is, for what I'll be doing I wont need all that.
Will need Mil, PT compliance, but ain't gonna need that weighted stuff till later
down the line. (Plan on making a shielded suit 7 |

28. On April 15,2019, LANGHORNE reached out to the UCE and
provided additional instruction for the video. A portion of the conversation is as
follows:

LANGHORNE (3:47 PM) — Asalaam alaykum
Yeah look was going to ask about the work

LANGHORNE (3:48 PM) — Just wanted to make sure in the video when
going over using sulfuric acid as the catalyst that you emphasize room
temperature control, Trace amounts of sulfuric acid can cause an accidental
explosion.

LANGHORNE (3:50 PM) - Which is why safety should be the primary

concern of the video. . .
Be sure to include (if you haven’t finished it) that people should make sure the.
product is thoroughly distilled and sifted, if possible sift VERY

CAREFULLY, a secondary time and make sure its stored at an appropriately
tempered area.

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LANGHORNE 3: ‘51 PM) — Best case scenario we come out with very fine

products that took a considerable amount more time to create, but the purity, |

yield and safety of the product is paramount.

UCE (8:53 PM) —- Wa Alaikum As Salaam Akhee, good info.
In this portion of the conversation, after being provided the video (described above)
on April 3, 2019, LANGHORNE expressed his approval and then provided
additional information he wanted added to the next version of the video.

29, On April 19, 2019 , LANGHORNE, using Twitter handle
@Y orHaJihadi, sent a direct message to Twitter user | , which is handle
@ . LANGHORNE stated “Let's just say, I've chosen a different
lifestyle that coincides with certain socio-political alignments that are rooted in
theological perceptions that most don't share.” On April 22, 2019, LANGHORNE
received a direct message from Twitter user @ in which she asked
LANGHORNE, “Why do you talk like a suicide bomber”. On the same date,
LANGHORNE responded, via Twitter direct message, ‘““You’ve spoken to
ishthihadi¢en?” On April 23, 2019, @ responded “no idea who that is
btw”. LANGHORNE then responded “An ishtihadieen is a suicide bomber.”
@ responded “TI will never pretend to understand you.” After some
. further conversation, on April 23, 2019, LANGHORNE sent a direct message to
Twitter user @ , stating, “I don’t plan on blowing myself up at all,” and
later LANGHORNE sent another message stating, “But the path I'll be on will be

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dangerous and likely end in death.” on .
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30. _ On April 20, 2019, LANGHORNE, using Twitter handle
@YorHaJihadi, sent a direct message to Twitter user , which is
handle @ . stating “You're so obsessed and worried about someone
calling you an extremist, that you aren't honest enough with yourself to accept the
fact that yes, we as muslims to fight in wars, and we do kill.”

31. Onor about May 2, 2019, LANGHORNE, using Twitter handle
@YoRHaJihadil7E, responded to a Tweet from @ related to

purported phone calls from the government, as shown below:

@ * May 1 ‘ , “
Random number calls, “Hello Nama, I'm fram (gov't), Can you confirm this
personal information for me?" Nopa, If I don't know who's calling, I'm not
Interested, Nothing personal, Bye, ‘

1 th © 3 &
YoRHalthadi€17 v
@YoRHaahadl7e ; ;

Replying to @ ‘

». one time | got this.

"Hello Is mr, [Redacted] there?” _

Yeah who's this?

"This Is Agent [Redacted] with the ATF."
Oh yeah! I called you guys a week ago!

"Right, Its just that; no one has ever wanted a federal
high explosives !Icense for recreational purposes."

But | Do.
2:30 PM * May 2, 2019 * Tyitter for Andratd

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In his response, LANGHORNE discussed his contact with the Bureau of Alcohol,

Tobacco, Firearms, and Explosives (ATF) about obtaining a “federal high explosives

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license for recreational purposes. ” LAN GHORN E later responded to

@ | stating “I all honesty i would still have to be compliant with
state and federal laws so, it isn’t that odd really, thing is i would need an actual
goddamn factory within city/ local compliance to make fireworks. Bombs
however.... hehehehe.”

32. On or about May 2, 2019, LANGHORNE, using Twitter handle
@YoRHaJ ihadil7E, responded to a tweet posted by user @ | . The profile
for @ reads “I’m a lawyer and free speech advocate. My
Law firm is . Please call me BEFORE your talk to the police.” In the
tweet thread, LANGHORNE asked @ “why is it ilegal to upload
information on bomb making if its created to espouse violence or harm others, but if
its for scientific research it isn’t illegal to produce such media? In both cases how to
create an IED taught.” I assess that, in this question, LANGHORNE is referencing
the statutory language of 18 U.S.C. § 842(p), which makes it a federal felony to
distribute information pertaining to the manufacture or use of explosives, destructive
devices, and weapons of mass destruction with the intent that the information be
used in furtherance of a federal crime of violence,

33. On May 12, 2019, the UCE provided LANGHORNE with an updated
version of the TATP video that contained some of the additional information
LANGHORNE wanted in the video. After LANGHORNE received and viewed the
video, the following conversation took place: |

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LANGHORNE (6:22PM) ~ Perfect thus far. oY

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LANGHORNE (6:23PM) ~ The volume & yield specifically has a ratio of
good importance.

.The tips for safety are also outstanding. As those are the most realistic ways to
purchase items required, avoid digits] tripwires and maintain a low profile.

LANGHORNE (6:24PM) - Easiest disguises would of course be dense
sunglasses, a clean shaven face and a hat.

LANGHORNE (6:25PM) — Normal glasses work just as efficiently if the
clothing attire is appropriately matched to convey a teacher asthetic.
Very well done.

LANGHORNE (6:26PM) — Also the mentioning of safety apperal needed is
well noted, as the chemical smell it gives off, working with such tools and its
hazards are important to note.

LANGHORNE (6:27PM) — The coffee filter is the standard means of
filtration, I however am curious if specific brands would allow better yield due »
to quality of the paper used.

LANGHORNE (6:28PM) — Video so far is coming out perfect, nothing left
undone, everything prioritized & mentioned in a way that can be commonly
understood, .

| LANGHORNE (6:29PM) — Of course moving forward.
When it comes to the assembly aspect of this
I would recommend working backwards.
As having a functioning detonator.on hand will allow one to detonate if a raid
is conducted.
LANGHORNE (6:30PM) - Also keeping a clean and non accountable work
environment is also necessary

LANGHORNE (6:31PM) - As forensics will of course take photos and if
things appear to be set up for an attack, prosecution can. easily win.

LANGHORNE (6:32PM) — However by working backwards, having a
detonator could potentially be claimed to have been used with a science
experiment (as noted in the opening of the video) with no malicious intent to
harm.

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LANGHORNE (6:33PM) — As the power source used to detonate could be
applied to a varity of other applications. Such as a potato clock, making a
jerry rigged, remote controlled item.

Etc etc ete. .

LAN GHORNE (6:34PM) — Secondly, TIME. Time must: be emphasized in a
seperate video when it comes to the usage of this.

LANGHORNE (6:35PM) - This initial video is basically how to safely create
and use TATP without setting off any federal alarms. Its purpose is not to
harm but simply to educate

LANGHORNE (6:39PM) — A follow up video on high value targets,
understanding contemporary warfare in comparasion to classical Islamic
warfare, how to scout locations & people, mental & religious preparation, use
of disguises, basic legal information required to appropriately scout without
being detected or raising alarm.

When to strike and how,

As well as tactical analysis of active shooting scenarios, law enforcement
response & how to successfully leave an area without being caught, are all
things for a seperate video.

One video being the primer, while the second being the catalyst or detonator.

LANGHORNE (6:41PM) — That being said, this initial video is extremely
important as thus far it appears to be legally compliant with US law and thus
subject to enter public doman for responses & communication.

LANGHORNE (6: :46PM) — That being said, if this video can be published
two things will happen.

1: the Islamic world will have a better grasp on how to defend itself with the
usage of explosives in a reasonable & safe manner.

2: everyone who sees, uploads, reuploads & shares this video will be: aware of
how to safely and accurately create & use explosives.

Which means the list’of potentially dangerous people escalate from being
small and well managed to being completely useless as everyone becomes a
tier 1 threat.

As a result of that, it is possible

That people of interest within the Islamic field will be taken with more
precaution & treated better as the results of upsetting a suspected terrorist will
only exacerbate any h hostilities they already have thus endangering others as a

result.
of

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LANGHORNE (6:47PM) — A few other notes
. LANGHORNE (6:51PM) -— If this video is produced and is fully legally

compliant the main stream media of course will remark on the video which

will only cause it to spread even further thus educating even more people,

when the backlash happens of tyring to the information curiosity will compel

even more people to seek it out and watch it, which in turn only helps

everyone as this information becoming general knowledge is extremely useful |

to the world as a collective. Example, (Venezuela, Libya, France, Yemen,

~ Northern China, Burma, Palestine, Syria, Saudi & Iran)

Bach place has political turmoil, the information provided can & would assist

the general population against the corrupt or oppressive people.
In the conversation above, LANGHORNE stated his true intention — to provide
information on how to make explosives so that “the list of potentially dangerous
people escalate from being small and well managed to being completely useless as
everyone becomes a tier | threat.” LANGHORNE additionally specified that his
target audience was “people of interest within the Islamic field” and that his intended
result was that any response to Islamic extremism be done with “more precaution”
due to the risk of “upsetting a suspected terrorist.” In other words, here
LANGHORNE expressed his desire to radicalize and mobilize a sufficiently large
group of Islamic extremists as to make response and control futile. LANGHORNE
additionally made reference to the video being “fully legally compliant” so that it will
spread through legitimate channels even though, based on LANGHORNE’s
statements to the UCE, his true intent — to support ISIS through dissemination of the
video — is clear. LANGHORNE stated his view that the information will be

extremely useful to tlie world and provided specific examples of Venezuela, Libya,

France, Yemen, Northern China, Burma, Palestine, Syria, Saudi and Iran as.
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examples of countries with political turmoil and where the information.in the video
would “assist the general population against the corrupt or oppressive people.”
According to LANGHORNE, as a result of the dissemination of the video, “the
Islamic world will have a better grasp on how to defend itself with the usage of
explosives.”

34, The conversation continued. Beginning at 6:54 PM on May 12, 2019,
the following messages were exchanged: | | |

LANGHORNE (6:54PM) - It is my honest belief that if & when you finish
this, this deed will live on forever, as the information becoming public
knowledge will only be a Good thing as it evens things into a more balanced
state between civilians & governments, knowing that:the supplies are easy to
obtain, proper yields will be established to be used correctly, safety being the
priority will allow even the most basic of intelligent peopleto produce the
means to defend themselces against hostile powers.

LANGHORNE (7:00PM) — Once this video is complete
LANGHORNE (7:01PM) - If you’re willing to make a secondary video that
will change current Islamic warfare, let me know. As that video in particular

will let us win this battle of hearts and minds, once and for all.

LANGHORNE (7:02PM) - MayvAllah reward you well for your work, &
remember to stay safe.

UCE (7:12PM).— Will update the video with your suggestions....once project
is complete will work with you on secondary project.

LANGHORNE (7:13PM) ~ Great

35. On approximately May 16, 2019, LANGHORNE changed his
Facebook cover picture for one of his Facebook accounts to the “SEEKING TO
KILL AND TO BE KILLED” image.

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| 36. May 26, 2019, LANGHORNE, using the YouTube account with
moniker “Takbir Jihadi,” uploaded a video to Youtube entitled “Baghouz Nasheed”
The video features footage from bombings in the area of Baghouz, Syria, and reports
that 3000 Muslims died and states their only crime was that they said “Our Lord is
Allah.” The video features a nasheed in the background urging Muslims to. take up
their weapons as there is no honor except in Jihad for Islam. Also on May 26, 2019,
LANGHORNE, using the Takbir Jihadi” YouTube account, uploaded a video to
YouTube entitled “Islamic State-2019: Chaliph Abu Bakr Al Baghdad’s Public
Address.” In this video, Abu Bakr al-Baghdadi recognizes the efforts of ISIS and
suggests that the brothers avenge those who have died for the cause. Al-Baghdadi
states that Allah ordered Muslims to wage J ihad and that the Tawaghit may be
contained by Jihad. The video was produced by the Al-Furgan Foundation, a media
arm of ISIS. Information provided by Google in response to the Google Search
Warrant reflects that Google suspended LANGHORNE'’s “Takbir Jihadi” YouTube
account the same day,

37, On June 24, 2019, the UCE provided LANGHORNE with another
updated version of the TATP video produced utilizing the guidance provided by
LANGHORNE. After LANGHORNE received and viewed the video, the
following is a portion of the conversation that took place:

LANGHORN E (7:17AM) — everything appears, fine. Looks like all bases are
covered, it’s fool proof.

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LANGHORNE (7:18AM) — Yeah I'd say the information given is perfect,
Nothing could possibly go wrong. With safety being fully accounted for all
that’s left is the yield amounts, creation and demonstation.

LANGHORNE (7: 19AM) - I imagine the detonation of a Puiiding is
something unlikely to be easily done. .

LANGHORNE (7: 20AM) - However if the math utilized can be proven to
work with the yields given that demonstation won't be needed due to scaling
and solveable math.

LANGHORNE (7:21AM) - I.do wonder if this information will be useful to
people as much as I believe it will

LANGHORNE (7:22AM) — Ofe course. None of this is expert advice on my
part. .

38. The conversation continued. On June 24, 2019, at 7:32AM the UCE
told LAN GHORNE the volume and yield amounts will be in the final video.

UCE (7: 324M) ~ Working on the volume and yield amounts will have that in
the final video.

LANGHORNE (7:33AM) - Good.

UCE (7:36AM) — For the tatp instruction part I was thinking about putting in
hyperlinks, what do you think?

LANGHORNE (7:37AM) — What for?
LANGHORNE (7:38AM) - I suppose a detailed description of the product?
UCE (7:38AM) - Exactly. Yes.

LANGHORNE (7:38AM) — Well if you do, it has to be in two sets. One for
whatever product your listing and one from wikipiedia explaining the product..

Based on the earlier conversations between LANGHORNE and the UCE, “volume”
and “yield,” referenced here by the UCE, are critical elements LANGHORNE

wanted included in the TATP video. As shown above, on February 17, 2019,

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LANGHORNE wrote to the UCE, “video must show proper yield to explosive
equipment gained...This should be done in yields the common man can understand,
example, X amount will destroy a car, x amount 1 story building, x amount 2 story if
place properly, and X amount for a 3 story building.” On April 3, 2019,
LANGHORNE wrote to the UCE, “The best yield results in my opinion are, tree
trunk, car, 900 square foot room, Half a building. And one full building.” And on
May 12, 2019, LANGHORNE wrote to the UCE, “The volume and yield
specifically has a ratio of good importance.”
| 39, Following the above portion of the conversation, on June 24, 2019, the
UCE sent LANGHORNE three open source website links on how to make TATP.
LANGHORNE responds with the following messages:
LANGHORNE (7:46AM) — Hmm...the hydrochloric explanation is good but
leaves out the fact that metal cant be used when making the product.
Then again the first one does as well.
LANGHORNE (7:47AM) — You're call, I’d just emphasize that meatl cannot
or should not be used when creating your product. Unless used for chilling
items used in conjuction with the product. ©
LANGHORNE (7:48AM) — Le a metal bowl filled with liquid nitrogen to
retain a low temperature while Preparing your product.
Or a metal bowl made into an ice bath prior to utilizing a mixture.
UCE (7:49AM) — Can make that clear in the final version.
40. The conversation continued. Beginning on June 28, 2019, and
continuing through July 2, 2019, LANGHORNE provided instructions to the UCE
for a nasheed LANGHORNE wanted made. I know from my training and

experience that a nasheed is a work of vocal music. In Islam a nasheed is a song that

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carries with it an Islamic belief, practice, etiquette or lesson. Terrorist organizations,
including ISIS, produce nasheeds that convey a message of violence that furthers
their extremist rhetoric and propaganda. The following are portions of the
conversation: |

LAN GHORNE (J une 28 - 7:20PM) ~ Know anyone who can make a
nasheed?

UCE (June 30 - 1:48PM) — Let me ask around... what kind of nasheed(s) are |
you looking for? What do you want them to be about? _

LANGHORNE (June 30 -- 8:31PM) — I want a nasheed that uses the sounds
of the battlefield as music. Since that isn’t haram.

Talso know from my training and experience that if something is “haram” that
means it is forbidden by Islamic law.

41. The conversation continued. Beginning at 11:26 AM on July 2, 2019,
the following messages were exchanged:

LANGHORNE (11: 26AM) — Firstly I need a handful of'sounds and one in

particular I have only ever seen once.

During the prison break dawlah did there was a man recording. And he gives

a loud takbir at the second explosion

' LANGHORNE (11:27AM) — I want that specific takbir

And a few other takbirs that are.good as well
Next we'll need a few. sounds effects

https:// youtu. be/MOwAggz3sv0
_ The above link sent by LANGHORNE is to a YouTube video titled, “Kill "Them All!

(Pennywise). ” LANGHORNE then sent the following:
LANGHORNE (11: 28AM) - Just the children sayingnkill them all

LANGHORNE (11:29AM) - https:/ /youtu,be/euWNcINRVsU one

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The above link sent by LAN GHORNE is to a YouTube video titled, “Moab 1080p
30fpd with Sound.” The description of the video states, “This is an explosion in a
remote desert city. The MOAB weighs more the 10,000 kilograms and contains
8,164 kilograms of explosive. Its explosion has a blast...” LAN GHORNE then sent

the following:

LANGHORNE (11:30AM) — This particular explosion and that of white
phosphorus if you can find it

LANGHORNE (11:33AM) - https://youtu,be/Z1NbZrWGexO
The above link sent by LANGHORNE is to a YouTube video titled, “Learn To
Speak Their Larighuage.” The conversation continued between the UCE and
| LANGHORNE:

LANGHORNE (11:34AM) - 3:37 — 4:02
Opening
I have the lyrics down

LANGHORNE (11 :35AM) — The opening is critical though if the audio can
be cleaned and enhanced a bit for sound that’s perfect

~ LANGHORNE (11:36AM) ~ In short the song is about retaliation.
Fatuluhum, or Kill them all
The chorus is kill them all,
And it repeats five times inbetween the lyrics

LANGHORNE (11:38AM) ~— Amidst gunfire, bombs, recitations and kill
counts (done to muslims. We list a country then the amount of muslims killed
as a result of US “intervention” or war. Speaking the name of the country
then a simple number. Example. Libya, 200;000. Yemen, one million. Etc
etc etc.

LANGHORNE (11:39AM) — I’ll explain in further detail a bit later. But the
premise of the nasheed is to encourage justified retaliation
_ Hince. Kill them all

—_

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LANGHORNE (11:40AM) -— Side not: once the video is finished we'll hold
on to it for a bit. I’ve got to speak to a federal or criminal defense attorney to
make sure it’s compliant with ATF regulations.

Then we publish
And encourage others to spread it as well. If it’s fully compliant with US law.
This info can and will change the world for the better, forever.

LANGHORNE (11:41AM) — As defense against tyranny is needed by
everyone but ESPECIALLY muslims,

I know from my training and experience the term “Dawla” translates to “dynasty” or
“state,” and commonly is used to refer to the terrorist organization ISIS. The term
“takbir” used above refers to the expression in Arabic “Allahu Akbar,” which means
“God is great.” This phrase is used as an exaltation and motivational phrase. The

_ phrase is also well-known for its common use as a battle cry in Islamist extremism
and Islamist terrorism, as described above. I further know that the YouTube video
sent to the UCE by LANGHORNE titled “Moab” is about the United States large-
yield bomb commonly known as the “Mother of All Bombs” or “MOAB.” I also
know that “white phosphorus,” referenced by LANGHORNE refers to a material
made from a common allotrope of the chemical element phosphorus that is used in
smoke, tracer illumination, and incendiary munitions. Finally, in the above
conversation LAN GHORNE used the term “Fatuluhum” followed by “or Kill them
all.” Based on my training and experience, I assess LANGHORNE meant to use the
word “Fa-uq’tuluhum,” which he misspelled. Fa-uq’tuluhum is translated “then kill
them.”

42. LANGHORNE and the UCE continued their communications. On

August 1, 2019, the UCE explained to LANGHORNE that the final version of the

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video was neat completion. The UCE then told LANGHORNE that he needed to
travel for an urgent project for Dawlah al-Islamiyah, referring to ISIS, and once he
returned, the final.touches would be completed on the video.

43. On September 15, 2019, the UCE reached out to LANGHORNE again
to let him know that he was still busy working with Dawlah al-Islamiyah or ISIS.
The following messages are a portion of the conversation:

UCE (4:24PM) - Still busy working with the brothers from the Dawlah al-

Islamiyah...I will text you as I return Akhee. The project will get completed

once I’m back.

LANGHORNE (5:04PM) - Take your time

44, On November 5, 2019, the UCE reached out to LANGHORNE to let
him know that he was back from “Dawla,” referring to ISIS, safe and. sound. The
following messages are a portion of the conversation:

UCE (9:26PM) — I just wanted to let you know I made it back from the Dawla

al-Islamiyya safe and sound.

I will have your video before the end of the week.

LAN GHORNE (9:39PM) ~— Cool

45, On November.7, 2019, the UCE sent LANGHORNE the final version
of the TATP video, In preparing the final version of the video, I and others on the
investigative team consulted with FBI Senior Scientist Dr. regarding the
inclusion of a formula in the video that would be likely to appear to LAN GHORNE
to be the formula for TATP but, in fact, would produce an inert product. The final

‘ version contains the inert TATP alternative formula and yield amounts purportedly

required to destroy a tree trunk, car, and house. Dr. advised that, because

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the TATP alternative formula produces an inert product, the yield multipliers

' provided in the video likewise would not result in the product being sufficient to
destroy any of these targets, The video also contains demonstrations of a tree, car, |
and barn being exploded, Three versions of the video were provided to
LANGHORNE. One version contained no music and two versions contained

~ nasheeds LANGHORNE had previously suggested the UCE use as background
music. After sending the first version, without music, the following conversation
took place:

LANGHORNE (12:16PM) — That was well made
A bit, unusuall....
But well done

LANGHORNE (12:17PM) - Alright, so do yqu have TOR and or a decent
VPN service? —

LANGHORNE (12:18PM) — I’m surprised you had a car to waste
But a necessary sacrifice for science.

LANGHORNE (12:19PM) - More surprised you could actually demolish a
barn.

How exactly did you manage to do that, even in a rural area, with no one
saying anything?????7?7?7777777?7

The sound effects from the blast alone would have been heard for several miles

LANGHORNE (12:20PM) — Well, doesn’t matter. The video appears to be
legal, well scripted, shows proper yield, creation and where to obtain supplies.

LANGHORNE (12:21PM) — I suppose storage could have been an issue,
however, that’s something you actually have to have a federal explosives

license to have. So I’m pretty sure if you’re just getting rid of a stump or...car.
It’s fine, assuming local/state laws & no one is injured.

| cys

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46. Onthe same day, November 7, 2019, at 2:13 PM and 2:35 PM, the
UCE forwarded LANGHORNE the second and third TATP video versions (with

nasheeds). The following is a portion of the conversation:

LANGHORNE (2:48PM) — Yeah 2 is pretty solid.
I think it'll have a more general appeal to muslims. .

UCE (2:56PM) ~ Agree Akhee.

UCE (3:04PM) — Now, since the first set of videos are finished do you still
want to work on another set of videos?

LANGHORNE (3:18PM) — Ahh ahh...
Aye*
Gonna need to let this cool down a bit though,

LANGHORNE (3: 19PM) — Talked to my lawyer and waiting to see if he and
a couple other people mind reviewing it
From my perspective looks 100% clean and legal’
However if you’d like, you can do a test run of the product —
~ You familiar with bitchute?
It’s a video streaming platform like youtube
Cept it’s more wild west out there.

LANGHORNE (3:20PM) - So here’s what we'll do
Either you or I will upload to it.
Give it some time and wait to see how it does. I already out flames of war 2

up, never got taken down. So I assume its safe to upload other information
and videos there

I know from my training and experience and research that BitChute was launched in
January 2017 and is a peer-to-peer video sharing platform based out of the United
Kingdom. BitChute promotes its mission of putting people and free speech first. |
According to BitChute’s Community Guidelines, BitChute aims to provide.
individuals a platform where they can express their ideas freely and opposes

censorship. Instead of using central servers, BitChute utilizes WebTorrent. .

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WebTorrent is a BitTorrent client, written in Javascript, that runs in the web
_ browser. The first time a file is shared, there is a single seed (the individual who is
uploading the file). As the video is downloaded by other users, the other users then
become seeders themselves, meaning that future users will obtain portions of the
content from numerous other users, According to a March 2018 Twitter post from
BitChute’s official Twitter page, users must open a WebTorrent desktop client, copy
the link location of the video they wish to download, and then utilize the |
WebTorrent desktop client to download the video, Once the video has fully:
downloaded, it will start seeding automatically, | By operating in this way, BitChute
decentralizes the locations at which its content is hosted,

47. Iknow from my training and experience and research that BitChute is
favored by extremists because of its permissive environment.

48. Based on a review of the Google Search Warrant return,
LAN GHORNE received an email on October 1, 2019, from the email address
support@bitchute,com with the subject “BitChute Email Verification” which
contained a link for LANGHORNE to reset the password for his account.
According to the email, LANGHORNE’s BitChute account uses the name
“YORHAJ THADI,” Later the same day, LANGHORNE received a subsequent
email from support@bitchute.com with the subject “Your video is ready on
BITCHUTE.” The video that LANGHORNE had uploaded to BitChute was

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Flames of War II, an ISIS propaganda video, further described above.

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49, On October 24, 2019, LANGHORNE sent an email to
cybereticjesus@gmail.com with the subject line “BitChute,” in which
LANGHORNE stated “Having trouble uploading videos, I have a decent number of
videos I'd like to upload and can’t seem to continue uploading. Yes they ate ISIS
videos, the reasoning for this is that the media in snuffing and suppressing this |
information heavily and I feel that journalistic integrity demands that people have
free and open access:to the information without being put on a list for having viewed
the videos in question, or being scrutinized for atypical curiosity.”

50. | I note that, when describing BitChute to the UCE on November 7;
2019, LANGHORNE stated that it is “like youtube” but “more wild west.”
LANGHORNE also described how he had “already [p]ut flames of war 2 up” and it
had not been taken down by BitChute. As described above, LANGHORNE
uploaded Islamic extremist content to YouTube in May 2019, shortly after which his
YouTube account was suspended. Thus I assess that, by uploading Flames of War II
to BitChute, LANGHORNE was performing a test to see whether ISIS-related
content would be tolerated. on that platform in anticipation of receiving the final
versions of the TATP videos from the UCE, and then distributing one or more of
them.

51. The conversation continued on November 7, 2019, as follows:

LANGHORNE (3:20PM) ~ Moving forward

LANGHORNE (3:21PM) - It’ll go down like this. Once I get the A-OK from
my lawyer or someone else who I believe has some legal authority. I’m gonna

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go ahead and upload it raw. Then after a day or two I’ll upload it to youtube
as well
Should gain some traction

LANGHORNE (3:22PM) — Seeing as how it’s a legal video with adequate
depictions, details and information without any instructions to harm others
and can be used for honest practical purposes (as seen in the video via rural
explosions)

LANGHORNE (3:23PM) ~— All we need to do from there is one of two things. |

LANGHORNE (3:24PM) — 1: give it to someone with a decent t audience to
review or look over. A demolition channel or something of the sort. 2: wait
for the information to reach those in need, i.e. Hong Kong protesters,
Baghdad protesters or Venezuela for example.

Once the information is public, open and utilized by a few people of the
general public the job is done.

LANGHORNE (3:25PM) - Sorta like how napalm is a well known thing to
create, problem is it doesn’t have much practical use, THIS however does.
So, once everyone knows how to make and utilize explosives safely, then we
can move on to social engineering

LANGHORNE (3:27PM) — Those videos will be a bit more..,.difficult to
create, as they’ll require me to do a good 90% of the research, scripting, fact
checking, and siteing sources, once that’s all done I have to edit the work into
something cohesive have you and or others look over the script and then give
it to you to edit. From there I’ll publish it on my own platform.

LANGHORNE (3:29PM) - If you’re familiar with the, light and knowledge
series, think that. That’s pretty much what we’ll have to do but on a more
general sense, then we gradually make the appeal and information more
lenient on Islamic society and the need to respond to the war on islam. From
that point

Well, after that part is complete, then its straight up after that.

UCE (3:44PM) — I have other projects I need to start working on for other
brothers, so follow your plans as to how you will publish these videos.

LANGHORNE (4:11PM) - Will do

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32. On November 11, 2019, FBI Jacksonville Division Intelligence Analyst
was monitoring LANGHORNE’s channel on BitChute, for which

LANGHORNE uses the username Yorhajihadi. On that date, IA | , who was
located at the FBI Jacksonville Division office, observed that LAN GHORNE had
uploaded a video to BitChute that he titled “TATP OR: HOW YOU LEARNED
TO STOP WORRYING AND LOVE THE BOMB”, The video was time stamped
11:30 UTC on November 11, 2019, which converts to 6:30 a.m. east coast time.
Upon viewing the video on BitChute, JIA observed that LAN GHORN E had
uploaded a version of the video that the UCE had sent to LANGHORNE on
November 7, 2019, which contained a nasheed as background music.
LANGHORNE provided the following summary of the video:

This is an educational video on how to safely manufacture TATP a
commonly used explosive. To my knowledge this video is ATF and US
law compliant and thus perfectly legal to possess, view, download and

- upload. If you have recreational things to destroy such as tree stumps,
junk yard cars or perhaps an old moldy barn of some sort. This video
will give you instructions and the yield for each of them. Prioritizing
your safety and security as not to be bothered by law enforcement for
simple science-experiments. If requested by staté or federal officials to
take this video down, I don’t have an issue complying, however I do
believe that since the nature of this video is strictly scientific that it’s
fine to upload and view. There isn’t anyone specifically targeted or
specified. within the video to be harmed & thus doesn’t confer that the
explosive material produced within the video should ever be used. to
harm others. It’s simply to be utilized for recreational and landscaping
purposes, assuming. you are state and local compliant with safety and
other factors.

It is with extreme pleasure that I submit this video to you, the people, as
it is our American right to be able to enjoy our freedoms, so long as no
one is harmed in doing so. . or

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Enjoy, take notes & Remember, don’t worry about anything, just love
the work you do and the bombs you make.

Oh and don’t worry the video is legit, just remember to be cautious and
everything will be fine, using small amounts means you won't habe to
worry much about accidental explosions. When it comes to barn or.car
yields however... well you’re at your own risk there, might be easier to
utilize other means to destroy. the object.

LANGHORNE also made the following comment on the videg on November 11,
2019, using his Yorhajihadi account on BitChute:

Oh yeah, you can mute it if you aren’t into nasheed’s the nasheed in the
video is:

Mahum bi ummati ahmadin.

English lyrics can be found on youtube and online, basically it’s about

how Islamic leadership is failing and questionable at best in comparison

to past leadership.

Other than that, please enjoy the video.

Stay safe. |

53. On November 11, 2019, at 6:58 a.m. east coast time, LANGHORNE,
using Twitter handle @Yorha17E, posted a tweet treading “Its alarming to hear sirens

in the distance now.”

54. Later on November 1 1, 2019, IA observed that the “TATP
OR: HOW YOU LEARNED TO STOP WORRYING AND LOVE THE BOMB”
video had been deleted from BitChute at some time between 10 a.m. and noon east |
coast time that day.

55. Later on November 11, 2019, IA observed that

LANGHORNE had uploaded a video to his BitChute account, Yorhajihadi. The

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video was time stamped 16:55 UTC on November 11, 2019, which converts to 11:55
a.m, east coast time. This time, LANGHORNE titled the video “HOW TO MAKE
BOMBS/EXPLOSIVE MATERIAL: TATP EDITION” and provided a
significantly shortened summary, which read:

This video is for scientific research and application purposes, it explains
and details how to make TATP which is a commonly used volatile
explosive material. Of course legally speaking you should have a
explosive manufacturing license to produce such material. Please

utilize extreme caution and safety during manufacturing this material.
Also helps to check with local ordinances as the information here is
perfectly legal to view, upload, download and posses, however the ~
material in and of itself may not be unless you have the appropriate
licenses and permissions to do so.

Please enjoy the video and leave feedback if you like, as well as what
else you might wish to know.

IA . attempted to view and download the video, but was unable to. .
However, TA | noted that the length of the video was the same as the length
of the video LANGHORNE had uploaded earlier the same day. Thus I assess that
second video LANGHORNE uploaded was one of the videos sent to
LANGHORNE by the UCE on November 7, 2019.
CONCLUSION

In summary, LANGHORNE is an ISIS supporter who believes that existing
videos available online are inadequate to arm fellow ISIS adherents and others with
knowledge on how to manufacture explosives. As a result, LANGHORNE created
and disseminated a video which instructs the viewer on how to make TATP.

Although the video includes disclaimers about educational purposes,

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LANGHORNE'’S true purpose is to arm ISIS adherents and others with knowledge
of how to make TATP by disseminating a video that he believes will not be taken
down for terms of service violations.
Based on the foregoing facts, I submit that there is probable cause to believe
that from at least February 14, 2019, continuing through at least November 11, 2019,
LANGHORNE, knowing that ISIS is a designated foreign terrorist organization,
attempted to provide material support to ISIS through the creation and distribution
of an instructional video intended to teach followers of ISIS how to obtain materials
for explosives without arousing suspicion and combine those materials to make an
explosive sufficient to destroy specific types of targets, in violation of 18 U.S.C.
§ 2339B. | .
Respectfully submitted,
Ay
mando J A, a
Border Patrol Agent (Intelligence)

FBI Task Force Officer assigned to Joint
Terrorism Task Force

Subscribed and sworn to before me on November __ {3 , 2019

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Q\ Cette Ww K dud A
JAMESR.KLINDT
i. UNI: JED STATES MAGISTRATE JUDGE |

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